Case 0:20-cv-62580-RAR Document 3 Entered on FLSD Docket 12/16/2020 Page 1 of 18



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                  FORT LAUDERDALE DIVISION

                                        Case No.: 20-cv-62580

  MERLE WOOD & ASSOCIATES, INC.,
  a Florida Corporation,

         Plaintiff,
  v.

  FIRST EXPORT ASSOCIATION OF DUTCH
  SHIPBUILDERS, commonly known as FEADSHIP,
  a Dutch joint venture comprised of ROYAL
  VAN LENT SHIPYARD B.V., a Netherlands
  company and KONINKLIJKE DE VRIES
  SCHEEPSBOUW B.V., a Netherlands company;
  ROYAL VAN LENT SHIPYARD B.V., a
  Netherlands company, and FEADSHIP
  AMERICA, INC., a Florida Corporation,

        Defendants.
  __________________________________/

                      MOTION TO DISMISS AND IN THE ALTERNATIVE
                           UNDER FORUM NON CONVENIENS

        COMES NOW Defendant ROYAL VAN LENT SHIPYARD B.V., (hereinafter “ROYAL

  VAN LENT”) by and through undersigned counsel and pursuant to Rules 12(b)(2), 12(b)(3), and

  12 (b)(6) of the Federal Rules of Civil Procedure hereby moves to dismiss the Complaint filed by

  Plaintiff MERLE WOOD & ASSOCIATES, INC. (hereinafter “MERLE WOOD”) lack of

  personal jurisdiction, improper venue and for failure to state a claim, or in the alternative, on the

  grounds of forum non conveniens. In support of this motion, ROYAL VAN LENT submits the

  Declaration of Jan-Bart Verkuyl (Exhibit B) and states:

                                          INTRODUCTION

        Plaintiff’s claims relate to an allegedly unpaid broker commission for a vessel (hull 817)

  built in the Netherlands, to be delivered in the Netherlands and sold in the Netherlands. Plaintiff
  Page 1 of 18
Case 0:20-cv-62580-RAR Document 3 Entered on FLSD Docket 12/16/2020 Page 2 of 18



  claims that they are owed a broker commission in relation to the sale of hull 817. ROYAL VAN

  LENT does not believe that U.S. law applies at all to this transaction and even if U.S. law were to

  apply as set forth more fully below Plaintiff cannot state a claim against ROYAL VAN LENT due

  to the expiration of the statute of limitations. More importantly for purposes of this motion, under

  settled law there is no basis for an assertion of personal jurisdiction over defendant ROYAL VAN

  LENT, a Netherlands corporation with its’ principal place of business in the Netherlands for a

  transaction that occurred in the Netherlands where said defendant is “at home” outside of the

  United States.

                        PLAINTIFF’S JURISDICTIONAL ALLEGATIONS

        The Plaintiff has alleged in paragraphs 4-13 of their complaint that both general and specific

  jurisdiction exist over ROYAL VAN LENT under the Florida Long-Arm Statute 48.193. See

  Exhibit A, Plt.’s Complaint, ¶¶ 4-13.

                                      STATEMENT OF FACTS

                                   CITIZENSHIP OF PLAINTIFF

         1.      Upon information and belief the Plaintiff, MERLE WOOD, is a resident and citizen

  of the State of Florida and has been a resident and citizen of the State of Florida since before the

  commencement of this action in The Circuit Court of the 17th Judicial Circuit in and for Broward

  County Florida on or about August 7 2020. Id. at ¶ 2.

        CITIZENSHIP, PRINCIPAL PLACE OF BUSINESS OF ROYAL VAN LENT

         2.      ROYAL VAN LENT is a corporation incorporated under the laws of the Netherlands

  with its principal place of business in the Netherlands. See, Exhibit B, Decl. of Jan-Bart Verkuyl.

  The principal office and headquarters from where it conducts its day-to-day operations are in the

  Netherlands. Any records issued by ROYAL VAN LENT and the records received by it are

  maintained and kept at its offices located in the Netherlands. Id.

  Page 2 of 18
Case 0:20-cv-62580-RAR Document 3 Entered on FLSD Docket 12/16/2020 Page 3 of 18



          3.     ROYAL VAN LENT does not have, and has not had any principals, executive officers,

  shareholders, officers, owners, managers, members, employees or directors located in or residing

  in the State of Florida, or in the United States. Id.

          4.     ROYAL VAN LENT’s principals, executive officers, officers, managers, and

  directors reside in the Netherlands. All of ROYAL VAN LENT’s 601 employees are based in the

  company’s offices in the Netherlands. Id.

                        LOCATION OF THE RELEVANT TRANSACTION

          5.       The alleged transaction did not take place within Florida. Rather, the contract for

  hull 817 was signed in Las Vegas, Nevada, hull 817 was built in the Netherlands and hull 817 is

  to be delivered in the Netherlands. Id.

                                      MEMORANDUM OF LAW

  I.      LACK OF PERSONAL JURISDICTION

          Personal jurisdiction refers to whether the actions of an individual or entity as set forth in

  the applicable statutes permit the court to exercise jurisdiction brought against the individual entity

  in the State of Florida. See generally F.S. 48.193; Venetian Salami Co. v. Parthenais, 554 So. 2d

  499, 500 (Fla. 1989). The applicable statute against non-resident defendants is the Florida Long-

  Arm Statute, 48.193, which lists the requirements for personal jurisdiction, which can be either

  general or specific jurisdiction. Defendant respectfully submits that this Court lacks both general

  and specific jurisdiction against ROYAL VAN LENT.1 There can be no personal jurisdiction

  under the Florida Long Arm statute F.S. 48.193 (2) over ROYAL VAN LENT a Netherlands based


  1
    The fact that the Plaintiff is based in Florida is irrelevant to the jurisdictional analysis. As stated
  in Hansa v. Denckla, “the unilateral activity of those who claim some relationship with a non-
  resident defendant cannot satisfy the requirement of contact with the forum state . . . ” 357 U.S.
  235, 253 (1958). The relationship of the non-resident defendant with the forum state must arise
  out of contacts that the “defendant himself” creates with the forum state. See Burger King Corp.
  v. Rudzewicz, 471 U.S. 462, 475 (1985).

  Page 3 of 18
Case 0:20-cv-62580-RAR Document 3 Entered on FLSD Docket 12/16/2020 Page 4 of 18



  company for claims allegedly related to an unpaid broker commission on a vessel that was built in

  the Netherlands, sold in the Netherlands and that is to be delivered in the Netherlands which meet

  the requirements established by the U.S. Supreme Court in Daimler AG v. Bauman, 571 U.S. 117

  (2014) and nor is there a sufficient connection between Florida and the Plaintiff’s underlying

  claims to meet the requirements of specific jurisdiction as recently addressed by the Florida Third

  District Court of Appeals in Fincantieri-Cantieri Navali Italiani S.p.A. v. Yuzwa, 241 So. 2d 938

  (Fla. 3d DCA 2018).2 To assert personal jurisdiction over ROYAL VAN LENT would constitute

  a denial of due process to ROYAL VAN LENT and thus would violate the Fourteenth Amendment

  of the U.S. Constitution.

           A. GENERAL JURISDICTION DOES NOT EXIST OVER ROYAL VAN LENT

         It is established law that a federal court may only properly exercise personal jurisdiction

  over a non-resident defendant if two requirements are satisfied: (1) the state long arm statute; and

  (2) the Due Process Clause of the Fourteenth Amendment to the United States Constitution. See

  Fraser v. Smith, 594 F.3d 842, 845 (11th Cir. 2010). General jurisdiction can be invoked only

  when a defendant's affiliations with the forum render it “essentially at home in the forum State.”

  See Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915 (2011). The Supreme Court

  decisions in Daimler and Goodyear raised the requirements to establish general jurisdiction over

  a non-resident defendant. The U.S Supreme Court has made clear that a defendant is “at home”

  either: (a) in the place it is incorporated; or (b) in the place where it maintains its principal place

  of business. See Daimler, 571 U.S. at 137. The reach of the F.S. 48.193 (2) is coextensive with

  the limits on personal jurisdiction imposed by the Due Process Clause of the U.S. Constitution.



  2
    Florida courts including the Florida Third District Court of Appeals have recognized and
  followed the constitutional due process requirements for general and specifically addressed by the
  United States Supreme Court in the Goodyear and Daimler cases, supra. See e.g., Fincantieri, 241
  So.3d 938 (Fla. 3rd DCA 2018).
  Page 4 of 18
Case 0:20-cv-62580-RAR Document 3 Entered on FLSD Docket 12/16/2020 Page 5 of 18



  See Fraser 594 F.3d at 846.3 The contacts required to establish general jurisdiction are quite

  exacting and must be especially pervasive and substantial to satisfy F.S. 48.193(2). Accordingly,

  the exercise of general jurisdiction is only proper when Defendant’s contacts with Florida are “so

  continuous and systematic as to render [the defendant] at home in the forum state”. See Daimler,

  571 U.S. at 127. Additionally, “a corporation’s continuous activity of some sort within a state is

  not enough to support the demand that the corporation be amenable to suits unrelated to that

  activity”. See Daimler, 571 U.S. at 132. In Daimler, the Supreme Court made it clear that general

  jurisdiction cannot be exercised solely on a foreign corporation’s continuous and systematic

  business in the forum state and rejected the agency theory of jurisdiction. In both Goodyear and

  Daimler, the Supreme Court explained that with respect to a corporation, the proper forum for the

  exercise of general jurisdiction is the place of incorporation and the principal place of business.

  See Daimler, 134 S. Ct. at 760 (quoting Goodyear, 564 U.S.at 925). In Daimler the U.S. Supreme

  Court also provided guidance on what the general jurisdiction analysis must involve as it stated:

  [t]he general jurisdiction inquiry does not focus entirely on the magnitude of the defendant’s in

  state contacts, [but instead] calls for an appraisal of a corporation’s activities in their entirety,

  nationwide and worldwide . . . a corporation that operates in many places can scarcely be deemed

  to be at home in all of them.” See 571 U.S. at 139, no. 20.

         Plaintiff has alleged that general jurisdiction exists under F.S. 48.193(2) , because along

  with the co-defendants ROYAL VAN LENT “engaged in substantial and not isolated activity



  3
    The federal courts have acknowledged and followed the dictates of the Florida courts that the
  Florida Long Arm statute must be strictly construed and any doubts about the applicability of the
  statute to a foreign or non-resident defendant must be resolved in favor of the foreign defendant
  and against a conclusion that personal jurisdiction exists. See Gadea v. Star Cruises, Ltd., , 949
  So. 2d 1143 (Fla. 3rd DCA 2007). In particular, the U.S. Eleventh Circuit Court of Appeals has
  given significant weight to the restrictive application of the Florida Long Arm Statute. See, e.g.,
  Fraser, supra.
  Page 5 of 18
Case 0:20-cv-62580-RAR Document 3 Entered on FLSD Docket 12/16/2020 Page 6 of 18



  within Broward County, Florida”, which will not suffice under these facts. In the instant case

  ROYAL VAN LENT is incorporated in the Netherlands and its principal place of business is in

  the Netherlands. See, Exhibit “B”, Decl. of Jan-Bart Verkuyl. Therefore, general jurisdiction does

  not exist over ROYAL VAN LENT as it is not incorporated in the State of Florida and its principal

  place of business is not in Florida, and thus it is not at home in Florida. See Daimler and

  Fincantieri, supra.4

           B. SPECIFIC JURISDICTION DOES NOT EXIST OVER ROYAL VAN LENT

         Section 48.193(1)(a) of the Florida Long Arm Statute lists several specific acts that could

  subject a nonresident defendant to personal jurisdiction in Florida, provided that the plaintiff's

  cause of action “arises from” the specified acts, that is only when the plaintiff’s cause of action

  arises from, or is directly related to, a defendant’s contacts with the forum state. See Consolidated

  Dev. Corp. v. Sherritt, 216 F. 3d 1286, 1292 (11th Cir. 2000). Minimum contacts will support

  specific jurisdiction only where the foreign defendant “purposefully avails itself of the privilege

  of conducting activities within the forum State, thus invoking the benefits and protections of its

  laws”. Id. at 1291, citing to Hanson 357 U.S. at 253.5 More specifically, regardless of whether

  the facts alleged in a plaintiff’s complaint satisfy the requirements of, or come within the ambit of,

  the Florida long-arm statute those facts do not automatically satisfy the due process requirement

  of minimum contacts as the federal due process analysis is not built into Florida’s Long Arm

  statute. See Internet Solutions Corp. v. Marshall, 39 So. 3 1201,1207 (Fla. 2010) citing with

  authority Venetian Salami, 554 So. 2d at 502. The requirement that there be minimum contacts is



  4  In paragraph 4 of its complaint Plaintiff admits that ROYAL VAN LENT is a company
  incorporated in the Netherlands.
  5
    For the purposes of the minimum contacts analysis, contacts are commonly assessed over a period
  of years prior to the filing of the complaint. See Metropolitan Life Ins. Co. v. Robertson Ceco Co..,
  84 F. 3d 560, 569 (2d Cir. 1996); see also Helicopteros Nacionales de Colombia, S.A. v. Hall, 466
  U.S. 408, 409-11 (1984).
  Page 6 of 18
Case 0:20-cv-62580-RAR Document 3 Entered on FLSD Docket 12/16/2020 Page 7 of 18



  grounded in fairness and assures that “the defendant’s conduct and connection with the forum state

  [is] such that he should reasonably anticipate being hailed into court there”. See Consolidated,

  216 F.3d at 1291, citing World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 297 (1980). In

  practice, this means that a plaintiff must establish that both the statutory and due process

  requirements for specific jurisdiction have been met. See Fraser 594 F.3d at 848.

         As to the first part of Fla. Stat. Sec. 48.193(1)(a)(1), “[o]perating, conducting, engaging,

  in, or carrying on a business . . . in this state” the relevant inquiry is not whether ROYAL VAN

  LENT does business in the State of Florida, but rather whether the Plaintiff’s causes of action arise

  from ROYAL VAN LENT’s business in Florida. See Fincantieri, 241 So. 3d at 946 citing with

  authority Moo Young v. Air Canada, 445 So.2d 1102, 1104 (Fla. 4th DCA 1984) (“The fact that a

  non-resident does business in Florida is not enough to obtain jurisdiction over it. In addition, there

  must be some connection between the cause of action pleaded and the business operations

  conducted in Florida”). This “connection” is known as the “connexity requirement”. Id. In

  Fincantieri while the Court acknowledged that the Italian defendant did business in Florida, the

  determining factor was whether there was an apparent connection between the plaintiff’s personal

  injury claims and the business conducted by the Italian defendant in Florida. In Fincantieri the

  Court held that there was no apparent connection between the plaintiff’s claims and the Italian’s

  business in Florida, because the vessel on which the incident had occurred was not constructed in

  Florida; the vessel was not purchased in Florida; the vessel was not owned by a Florida entity; the

  vessel did not embark from a Florida port, and the injury occurred in the Pacific Ocean. The fact

  that the Italian defendant had sold similar cruise ships in Florida was not dispositive as the court

  held that it was “far too remote to satisfy the connexity requirement under both the long arm statute

  and the Due Process Clause.” See Fincantieri, 241 So. 3d at 940-41. Additionally, the Court held

  that the fact the Italian defendant had an office in the State of Florida was not dispositive. See

  Page 7 of 18
Case 0:20-cv-62580-RAR Document 3 Entered on FLSD Docket 12/16/2020 Page 8 of 18



  Fincantieri, 241 So. 3d at 946.

         In this case MERLE WOOD’s complaint includes the following three counts: count I

  breach of contract; count II unjust enrichment; and count III promissory estoppel. Specific

  personal jurisdiction analysis requires evaluation of each count in a complaint. See, Custom Fab,

  Inc. v. Kirkland, 2014 U.S. Dist. LEXIS 8419, 2014 WL 260090, at *2 n.2 (M.D. Fla. Jan. 23,

  2014). In the instant case the Plaintiff has not alleged any facts which support their allegation that

  the transaction or the alleged breach of contract or the quasi-contractual claims for the broker

  commission in question occurred in Broward County or the State of Florida. The Plaintiff’s three

  counts all allege that there was an “agreement” or “promise” to pay MERLE WOOD a broker

  commission for the sale of hull 817. See Exhibit A, Plt.’s Complaint, ¶¶ 23, 32, and 37. Specific

  personal jurisdiction may be established under Section 48.193(1)(a)(7)6 only if a defendant

  breaches a contract in Florida by failing to perform acts contractually required to be performed in

  Florida. See, KVAR Energy Sav., Inc. v. Tri-State Energy Sols., LLP, 2009 U.S. Dist. LEXIS 3007,

  2009 WL 103645, at *13 (M.D. Fla. Jan. 15, 2009); see also Gazelles FL, Inc. v. Cupp, 2018 U.S.

  Dist. LEXIS 224581 (M.D. Fla. Sep. 25, 2018). Nowhere in MERLE WOOD’s complaint does it

  allege that ROYAL VAN LENT was contractually required to perform any acts in Florida. See,

  Wallace Buick Co. v. Rite Way Auto Transp. LLC, 279 So.3d 151 (Fla. 4th DCA 2019)(holding

  that failure to pay an alleged debt due in Florida is insufficient, without more, for minimum

  contacts to exist); see also Cornerstone Inv. Funding, LLC v. Painted Post Grp., Inc., 188 So. 3d

  904, 905 (Fla. 4th DCA 2016). Instead, MERLE WOOD’s complaint details significant acts which

  have no connection to Florida notably paragraph 16 of the complaint states:

         16.     This introduction of Mr. Fertitta to Feadship included Merle Wood and
         Peter Croke travelling to Holland to physically introduce Mr. Fertitta to Feadship
         in person, and to tour him through both the Van Lent and DeVries shipyards.

  6
   This section states: “Breaching a contract in this state [Florida] by failing to perform acts required
  by the contract to be performed in this state[Florida].”
  Page 8 of 18
Case 0:20-cv-62580-RAR Document 3 Entered on FLSD Docket 12/16/2020 Page 9 of 18




  See Exhibit A, Plt.’s Complaint, ¶ 16. Additionally, MERLE WOOD’s complaint alleges only

  generally that ROYAL VAN LENT visited MERLE WOOD in Florida for in-person meetings but

  not that ROYAL VAN LENT visited Florida in relation to the sale of hull 817:

         9.     . . . . Moreover, Feadship, Van Lent, and De Vries have sent their officers
         and/or directors for in-person meetings with MW&A in Broward County, Florida.

  See Exhibit A, Plt.’s Complaint, ¶ 9. There is no specific allegation in the complaint that ROYAL

  VAN LENT visited Florida at any time in relation to the sale of hull of 817.

         Based on the factual allegations in the Plaintiff’s complaint MERLE WOOD has not

  satisfied the requirements necessary to establish specific jurisdiction. Even assuming arguendo

  that there is a contract between MERLE WOOD and ROYAL VAN LENT, which is denied, for a

  broker commission for the sale of hull 817 ROYAL VAN LENT’s contacts with Florida are

  insufficient because the mere execution of a contract with a Florida resident and failure to make

  payment in Florida are not constitutionally sufficient. See Venetian Salami, 554 So. 2d at 501, 503

  (explaining that a nonresident’s contract with a Florida resident alone, or the mere failure to pay

  money in Florida, cannot automatically establish sufficient minimum contacts to warrant the

  exercise of long arm jurisdiction).

         The main problem with the Plaintiff’s allegations supporting specific jurisdiction is that

  any of the acts of ROYAL VAN LENT alleged in the complaint, which are all denied, were not

  committed in Florida as the vessel was built in the Netherlands, the vessel is to be delivered in the

  Netherlands and the contract for the sale of hull 817 was signed and executed in Las Vegas,

  Nevada. See, Exhibit B.     Further, there is no nexus, direct affiliation or substantial connection

  between Plaintiffs’ claims and any contract or business activities between ROYAL VAN LENT

  and Florida. See Gadea, 949 So. 2d at 1149-50 (No specific jurisdiction existed over a Hong Kong

  company who owned the vessel upon which the plaintiff was injured while the vessel was in

  Page 9 of 18
Case 0:20-cv-62580-RAR Document 3 Entered on FLSD Docket 12/16/2020 Page 10 of 18



  international waters off the coast of China);7 See also Bristol-Myers Squibb Co. v. Sup. Ct. of Cal.,

  137 S. Ct. 1773, 1781 (2017) (explaining that "a defendant's relationship with a. . . third party,

  standing alone, is an insufficient basis for jurisdiction"); Oldfield v. Pueblo De Bahia Lora, S.A.,

  558 F.3d 1210, 1223-24 (11th Cir. 2009) ("A finding that such a tenuous relationship between the

  [foreign defendant’s] relevant contacts and the negligence of the captain who was not employed

  or controlled by the [foreign defendant] somehow satisfied the relatedness requirement would not

  only contravene the fairness principles that permeate the jurisdictional due process analysis, but

  would also interpret the requirement so broadly as to render it virtually meaningless.")

         Consistent with the opinions in Fincantieri and Gadea, and the Plaintiff’s own allegations

  the Plaintiff’s claims against ROYAL VAN LENT arise from a transaction that occurred outside

  of Florida and that had no connection to Florida.

  II.    FAILURE TO STATE A CLAIM

         Although ROYAL VAN LENT asserts that U.S. law does not apply as the relevant

  transaction occurred in the Netherlands, even if U.S. law were to apply no causes of action can lie

  against ROYAL VAN LENT based on the expiration of the statute of limitations for MERLE

  WOOD’s claims. MERLE WOOD’s complaint alleges in paragraph 24 the following:


         24.     In approximately 2017, Mr. Fertitta purchased a superyacht from Feadship
         at an approximate total cost of $175 million. Accordingly, Feadship is obligated to
         pay MW&A its due and owing commission on Mr. Fertitta’s new build Feadship
         superyacht purchase.

  (See Exhibit “A”, Plaintiff’s Complaint, ¶ 24). However, the contract for the sale of hull 817 was

  signed on September 9, 2015. See, Exhibit “B”. It also undisputed that there is no written contract



  7
    The Court in Gadea defined the term “arising from” as requiring a direct affiliation, nexus or
  substantial connection between the basis for the plaintiffs’ cause of action and the defendants
  business activity in the state. See Gadea, 949 So. 2d at 1148.

  Page 10 of 18
Case 0:20-cv-62580-RAR Document 3 Entered on FLSD Docket 12/16/2020 Page 11 of 18



  between MERLE WOOD and ROYAL VAN LENT, or anyone for that matter, in relation to a

  broker commission for hull 817. The first payment under the contract for hull 817 was made on

  September 15, 2015. Id. The statute of limitations applicable to all of MERLE WOOD’s claims

  provides a four (4) year window to file a complaint for “[a] legal or equitable action on a contract,

  obligation, or liability not founded on a written instrument.” Fla. Stat. § 95.11(3)(k); see also

  Swafford v. Schweitzer, 906 So.2d 1194, 1195 (Fla. 4th DCA 2005) (noting that the statute of

  limitations for unjust enrichment claims is four years under § 95.11(3)(k)). MERLE WOOD filed

  its complaint on August 7, 2020 which makes August 7, 2016 the critical date for statute of

  limitations purposes. Under Florida law, the general rule is that “the time within which an action

  shall be begun under any statute of limitations runs from the time the cause of action accrues.” Fla.

  Stat. § 95.031. In the instant case the latest time that a broker confers a benefit upon a seller is

  when the first payment by the buyer to the seller is made. See, Merle Wood & Assocs., Inc. v.

  Trinity Yachts, LLC, 857 F. Supp. 2d 1294 (S.D. Fla. 2012)(analyzing statute of limitations issues

  in the context of a broker commission dispute and holding that that the statute limitations should

  begin running on the date when the first payment was made by the buyer to the seller). Here the

  first payment by the buyer was made on September 15, 2015 and therefore all of MERLE WOOD’s

  claims against ROYAL VAN LENT are time barred. See, Exhibit “B”.

  III.   FORUM NON CONVENIENS

         In the alternative to ROYAL VAN LENT’s motion to dismiss ROYAL VAN LENT moves

  to dismiss on the grounds of forum non conveniens in that the Netherlands is the more convenient

  and appropriate forum and the case should be brought in a court in the Netherlands. The doctrine

  of forum non conveniens vests district courts with the discretion to dismiss a case when another

  forum would have jurisdiction and trying the case in the plaintiff’s chosen forum would be

  oppressive or vexatious to the defendant or would be otherwise inappropriate based on a weighing

  Page 11 of 18
Case 0:20-cv-62580-RAR Document 3 Entered on FLSD Docket 12/16/2020 Page 12 of 18



  of several private-and public interest factors. See generally Piper Aircraft Co. v. Reyno, 454 U.S.

  235, 241 (1981). To dismiss a case based on forum non conveniens is a determination that the

  merits should be adjudicated elsewhere. See Ruhrgas AG v. Marathon Oil Co., 526 U.S. 574, 585

  (1999) (citations omitted). Thus, “[a] district court ... may dispose of an action by a forum non

  conveniens dismissal, bypassing questions of subject-matter and personal jurisdiction, when

  considerations of convenience, fairness, and judicial economy so warrant.” See Ruhrgas, 549 U.S.

  at 431-32. “The doctrine of forum non conveniens permits a court with venue to decline to exercise

  its jurisdiction when the parties’ and the court’s own convenience, as well as the relevant public

  and private interests, indicate the action should be tried in a different forum.” See Pierre-Louis v.

  Newvac Corp., 584 F.3d 1052, 1056 (11 Cir. 2009). More specifically, a court evaluates a forum

  non conveniens motion by considering whether 1) an adequate alternate forum is available; 2)

  private interest factors favor the alternate forum, with a strong presumption in favor of Plaintiffs’

  initial choice of forum; 3) public interest factors favor the alternate forum; and 4) Plaintiffs can

  reinstate their suit in the alternate forum without undue inconvenience or prejudice. See Wilson v.

  Island Seas Invs., Ltd., 590 F.3d 1264, 1269 (11 Cir. 2009). For example in the case of Abeid-Saba

  v. Carnival Corp., the Florida Third District Court of Appeals held that Italy was a more

  convenient forum for an incident involving injuries suffered by U.S. citizens which occurred while

  they were on board a passenger vessel off the coast of Italy. 184 So. 2d 593 (Fla. 3rd DCA 2016).


  WITNESSES

         The individuals employed by ROYAL VAN LENT who may have knowledge of the

  transaction in question related to hull 817 located in and residents of the Netherlands. See, Exhibit

  B. Pursuant to the allegations in the Plaintiff’s complaint one of the highlighted activities that

  MERLE WOOD alleges forms the basis of its claim is found in paragraph 16 of the complaint:

         16.      This introduction of Mr. Fertitta to Feadship included Merle Wood and
  Page 12 of 18
Case 0:20-cv-62580-RAR Document 3 Entered on FLSD Docket 12/16/2020 Page 13 of 18



         Peter Croke travelling to Holland to physically introduce Mr. Fertitta to Feadship
         in person, and to tour him through both the Van Lent and DeVries shipyards.

  See Exhibit A, Plt.’s Complaint, ¶ 16.

  ADEQUATE ALTERNATIVE FORUM

         In order to establish whether the Netherlands present an adequate alternative forum, it must

  be shown that: (1) ROYAL VAN LENT is amenable to process in the Netherlands, and (2) the

  subject matter of Plaintiffs' lawsuit is cognizable in the Netherlands and provides Plaintiffs with a

  redress. See, Windt v. Qwest Communs. Int'l, Inc., 544 F. Supp. 2d 409 (D.N.J. 2008) (finding the

  Netherlands was an adequate alternative forum). The first prong of the forum non conveniens

  analysis involves two considerations: whether the alternative forum is available and whether it is

  adequate. A forum is available when that forum can assert jurisdiction over the action and if the

  parties will not be deprived of remedies or treated unfairly. See, Beaman v. Maco Caribe, Inc.,

  790 F.Supp.2d 1371, 1376 (S.D. Fla. 2011). The forum will still be deemed available even if it

  does not provide the same benefits as courts in the United States. See, Piper Aircraft, 454 U.S. at

  255. The adequate alternative forum requirement will generally be satisfied when the defendant is

  amenable to process or consents to jurisdiction in the foreign jurisdiction. See, Tyco Fire &

  Security, LLC v. Alcocer, 218 Fed. Appx. 860, 865 (11th Cir. 2007); Satz McDonnell Douglas

  Corp., 244 F.3d 1279, 1282 (11th Cir. 2001). As a corporation based in the Netherlands and

  formed under the laws of the Netherlands it is clear that ROYAL VAN LENT is amenable to

  process in the Netherlands. See, Exhibit B. Additionally, many courts have found that the

  Netherlands is an adequate alternative forum for contractual and quasi-contractual claims as have

  been asserted by MERLE WOOD in this matter. See, Results v. ASF Holland, B.V., 2019 U.S.

  Dist. LEXIS 160791 (S.D. Fla. Sep. 20, 2019) (Holding that the Netherlands was an adequate

  alternative forum for contractual claims); see also Evolution Online Sys., Inc. v. Koninklijke


  Page 13 of 18
Case 0:20-cv-62580-RAR Document 3 Entered on FLSD Docket 12/16/2020 Page 14 of 18



  Nederland N.V., 41 F. Supp. 2d 447 (S.D.N.Y. 1999) (Holding that the Netherlands was an

  adequate alternative forum for unjust enrichment claims.

         PRIVATE INTEREST FACTORS

         Private interest factors include the ease of access to sources of proof; availability of

  compulsory process for attendance of unwilling witnesses, the cost of obtaining attendance of

  willing witnesses, and all other practical problems that make trial of a case easy, expeditious and

  inexpensive. See Gulf Oil Corp. v. Gilbert, 330 U.S. 501, 507, 508 (1947) (“A plaintiff sometimes

  is under temptation to resort to a strategy of forcing the trial at a most inconvenient place for an

  adversary, even at some inconvenience to himself”). The plaintiff may not, by choice of an

  inconvenient forum, vex, harass, or oppress the defendant by inflicting upon him expenses or

  trouble not necessary to his own right to pursue its remedy.     Id. at 508. As the U.S. Supreme

  Court stated in Piper Aircraft, supra, “a citizens forum choice should not be given dispositive

  weight, however”. 454 U.S. at 256.

         Here, the practical concerns of litigation favor an alternative forum in the Netherlands. No

  relevant evidence is located in Florida. Apart from the Plaintiff no United States citizen is likely

  to be a witness. Most of the witnesses and documentary evidence are located in the Netherlands.

  See, Exhibit B. Thus, the cost of obtaining the attendance of willing witnesses would be severely

  reduced if this action were pursued in the Netherlands since most of the witnesses reside in the

  Netherlands and for any witnesses residing in the Netherlands the cost would be significantly less

  than if they were to travel to Florida. The Netherlands will provide for the compulsory attendance

  of witnesses and cooperation in judicial proceedings, discovery, testimony, evidence investigation

  as well as other parts which comprise judicial proceedings. Even if ROYAL VAN LENT’s

  witnesses were to appear voluntarily in this Court the cost of travel, hotels and translation would

  be far greater here in the United States than in the Netherlands. See e.g., Sibaja v. Dow Chemical

  Page 14 of 18
Case 0:20-cv-62580-RAR Document 3 Entered on FLSD Docket 12/16/2020 Page 15 of 18



  Co., 757 F.2d 1215, 1217, n. 5 (11th Cir. 1985) (in affirming a forum non conveniens dismissal the

  court stated: “The cost of obtaining evidence from Costa Rica would be substantial, if possible.

  The Defendants would not be able to implead potential third party defendants located in Costa

  Rica in this action in Florida”); see also Da Rocha v. Bell Helicopter Textron, Inc., 451 F.Supp.2d

  1318, 1324 (S.D. Fla. 2004) (forum non conveniens dismissal; likelihood of substantial Spanish

  testimony supports dismissal); Heinz v. Grand Circle Travel, 329 F. Supp. 2d 896 (W.D. Ky. 2004)

  (Swiss courts were reasonable and fundamentally fair alternative forum). In summary the private

  interest is not in equipoise but in fact weighs substantially in favor of dismissal. See Membreno v.

  Costa Crociere, S.P.A., 425 F.3d 932, 936-37, (11th Cir. 2005); (Most of the witnesses, medical

  records, and documentary evidence located in Italy, Spain, Monaco, and Honduras and these

  "practical problems" of litigation favor an alternative forum).

         PUBLIC INTEREST FACTORS


         Public interest factors bear on questions of administrative difficulties flowing from court

  congestion, local interest in deciding localized controversies, the avoidance of unnecessary

  problems in conflict of laws, and the unfairness of burdening citizens in an unrelated forum with

  jury duty. See Gulf Oil, 330 U.S. at 508. The need to apply foreign law is a public interest factor

  that mitigates strongly in favor of dismissal. See Membreno, 425 F.3d at 936-37 citing Sigalas v.

  Lido Maritime, Inc., 776 F.2d 1512, 1517, 1520 (11th Cir. 1985).

         Here, the public interest factors favor dismissal. No significant relationship exists between

  the parties or the transaction and Florida or even the United States. ROYAL VAN LENT is not at

  home in Florida. Its base of operations and headquarters are in the Netherlands. Neither the State

  of Florida nor the United States would have any interest in a case involving a transaction which

  occurred in the Netherlands and is subject to the law of the Netherlands. The only connection of

  the instant lawsuit to the United States or to Florida is the domicile of the Plaintiff and the law
  Page 15 of 18
Case 0:20-cv-62580-RAR Document 3 Entered on FLSD Docket 12/16/2020 Page 16 of 18



  practice of Plaintiff’s attorneys which have been deemed insufficient. See Membreno v. Costa

  Crociere, S.A.,, 347 F. Supp. 1289 1299 (S.D. Fla. 2004) ("[I]n this case, the major connection to

  the United States is the law practice of Plaintiff's attorney." quoting Bautista v. CSCS International

  N.V., 350 F.Supp. 2d 987 (S.D. Fla. 2003) (further stating that "the habitual generosity of American

  juries is not a reason to try the case here")). Accordingly, Florida does not have a strong interest

  in litigating the instant dispute against ROYAL VAN LENT but rather the public interest factors

  favor litigation in the Netherlands. See e.g., Abeid-Saba supra. (Italy was an adequate and

  alternative forum); Heinz v. Grand Circle Travel, 329 F. Supp. 2d 896 (W.D. Ky. 2004)(Swiss

  courts were reasonable and fundamentally fair alternative forum); Giglio v. Carnival Corp. 2012

  AMC 2705 (S.D. Fla. 2012) aff,d 525 Fed. Appx. 651 LTD. (11th Cir. 2013) (Italy was an adequate

  and alternative forum).

          Accordingly, the public and private interest factors point to only one conclusion: this case

  should not be litigated in Florida. See Satz, 244 F.3d at 1284; see also Ford v. Brown, 319 F.3d

  1302, 1306-07 (11th Cir. 2003) (court applied two part inquiry standard of when deciding forum

  non conveniens issue, considering first the availability and adequacy of the alternative fora and

  then the public interest/private interest balancing test).

          NO UNDUE INCONVENIENCE OR PREJUDICE

          There will be no undue prejudice or inconvenience to the Plaintiff if suit is re-filed in the

  Netherlands. ROYAL VAN LENT, stipulates that it will waive any statute of limitations or

  jurisdictional defenses for the purposes of being sued in the Netherlands and that it will accept

  service of process.

  CONCLUSION

          There exist a number of reasons which warrant the dismissal of the Plaintiff’s complaint.

  The first is based on the fact that this Court lacks both general and specific jurisdiction under the

  Page 16 of 18
Case 0:20-cv-62580-RAR Document 3 Entered on FLSD Docket 12/16/2020 Page 17 of 18



  Florida Long Arm Statute (F.S. 48.193) over ROYAL VAN LENT. The Florida Long Arm Statute

  must be strictly construed and any doubts about the applicability of the statute must be resolved in

  favor of a foreign defendant and against a conclusion that personal jurisdiction will exist. ROYAL

  VAN LENT is a non-resident defendant and its contacts with the State of Florida, if any, do not

  render it of “at home in Florida” as its principal place of business was in the Netherlands from

  where its principal office and headquarters are located and from where it conducts its day to day

  operations. There are insufficient connections between Florida and Plaintiff’s claims as stated in

  its complaint. None of the alleged acts or breaches, which are denied, related to the transaction in

  question were committed within Florida, but rather took place in the Netherlands. There is no

  reason for ROYAL VAN LENT to have foreseen being sued in a Florida court for a transaction

  that occurred almost entirely in the Netherlands. To subject ROYAL VAN LENT to the personal

  jurisdiction of this Court would constitute a denial of due process. The second reason is that no

  cause of action can exist against ROYAL VAN LENT as the statute of limitations has expired in

  relation to all of the Plaintiff’s claims. The last reason, and in the alternative to all the others, the

  more convenient forum for the Plaintiff’s claims against ROYAL VAN LENT would be in a court

  in the Netherlands as the evidence meets the standards of forum non conveniens.

                  WHEREFORE, Defendant ROYAL VAN LENT moves this Court to dismiss the

  Complaint filed by the Plaintiff in its entirety with prejudice or in the alternative for forum non

  conveniens and award it all other relief which this Court deems just and equitable.

  Dated this 16th day of December, 2020.

                                                Respectfully submitted,

                                                /s/Ryon L. Little
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  Page 17 of 18
Case 0:20-cv-62580-RAR Document 3 Entered on FLSD Docket 12/16/2020 Page 18 of 18



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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 16th day of December, 2020, a true and correct copy of the

  foregoing was served by electronic mail on:


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                                                     s/Ryon L. Little____________________
                                                     Ryon L. Little




  Page 18 of 18
